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                           IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL DISTRICT
                                    IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                                      CIVIL DIVISION


             LISA A. ACIERNO and
             CHRISTOPHER M. ACIERNO,


                      Plaintiffs,                                           Case No.:


             v.




             USAA GENERAL INDEMNITY
             COMPANY, a Texas corporation,


                      Defendant.




                                    COMPLAINT AND DEMAND FOR JURY TRIAL


                      Plaintiffs, LISA A. ACIERNO and CHRISTOPHER M. ACIERNO, sue Defendant,


             USAA GENERAL INDEMNITY COMPANY ("USAA"), a foreign corporation, and state:


                      JURISDICTIONAL STATEMENT AND IDENTIFICATION OF PARTIES


                      1.      This is an action for insurance benefits and damages in excess of Fifteen


             Thousand Dollars ($15,000.00), exclusive of interest, costs and attorneys' fees.


                      2.      At all material times, USAA was a Texas corporation authorized to transact


             business and actually doing business in the State of Florida, and also maintained one or more

             agents or employees in Hillsborough County, Florida.


                      3.      On June 2, 2016, on northbound 1-275, at or near Mile Marker 265, in the City of


             Tampa,    Hillsborough County, Florida, a 2008 Mazda 3          (the "Mazda") operated by Kara


             Ottervanger, collided into the rear of a 2013 Mercedes operated by Lisa Acierno ("the Crash").


                      4.      Plaintiff, Lisa A. Acierno, suffered permanent damages as a result of the Crash.


                      5.      At all material times, USAA provided uninsured/underinsured motorist coverage


             to Plaintiffs.




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                      6.     Venue is proper in Hillsborough County, Florida, as this is a claim for damages


            arising from an automobile collision which occurred in Hillsborough County, Florida.


                                                          COUNT I


                                         UNINSURED MOTORISTS BENEFITS


                      7.     Plaintiffs incorporate and reallege paragraphs 1 through 6 as if fully set forth


            herein.


                      8.     Kara Ottervanger was insured under Mercury Indemnity Company of America


            ("Mercury") policy number FLAP0000041980 with liability policy limits of $50,000.00. The


            bodily injury coverage available under this policy is insufficient to fully satisfy Plaintiffs' claim


            for personal injuries.


                      9.     USAA issued in exchange for valuable consideration, a policy of automobile


            insurance to Plaintiffs, bearing policy number GIC 257016427101 (the "Policy"). The Policy


            provided uninsured/underinsured motorist coverage to Plaintiffs for any damages sustained as a


            result of bodily injury in the amount of $1,500,000.00 per person/per accident. A copy of the


            Policy is attached hereto as Exhibit A.


                      1 0.   The Policy was in full force and effect at the time of the Crash.


                      1 1.   The Policy provides, in pertinent part, as follows:


                             We will pay compensatory damages which a covered person is legally
                             entitled to recover from the owner or operator of an uninsured motor
                             vehicle because of BI sustained by a covered person and caused by an auto
                             accident.


                      12.    At the time of the' Crash, Lisa A. Acierno was an insured as defined in the


            uninsured/underinsured motorist bodily injury coverage section in the Policy.


                      13.    At the time of the Crash, Christopher M. Acierno was an insured as defined in the


            uninsured/underinsured motorist bodily injury coverage section in the Policy.



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                     14.      The Mazda is an uninsured/underinsured motor vehicle as defined in the

            uninsured/underinsured motorist bodily injury coverage section in the Policy.


                     15.       USAA was notified of Lisa Acierno's loss and Plaintiffs have complied with all

            the terms and conditions precedent to entitlement to uninsured/underinsured motorist benefits

            under the Policy.


                     16.       USAA has unjustifiably refused to honor its contractual obligations under the

            Policy and failing to pay the uninsured/underinsured motorist benefits owed to Plaintiffs.

                     17.       As a direct, foreseeable, and proximate result of the Crash, Plaintiff, Lisa A.

            Acierno,       suffered permanent bodily     injury and resulting pain and suffering,            disability,

            disfigurement, mental       anguish,   loss of capacity for the enjoyment of life, expense of

            hospitalization, medical and nursing care and treatment, and loss of earnings. The losses are


            either permanent or continuing and Lisa Acierno will suffer these losses in the future.

                     18.       As a direct, foreseeable, and proximate result of the Crash, Plaintiff, Christopher

            M. Acierno, lost the society, services, care, comfort, and consortium of his wife. The losses are


            permanent and continuing in nature and Mr. Acierno will suffer these losses in the future.

                     19.       Due to USAA's refusal to pay uninsured/underinsured motorist benefits in


            accordance with the terms of the Policy and Florida law, Plaintiffs retained the services of the


            undersigned attorneys and contracted with them to represent their interests in accordance with


            the policy and this lawsuit, including the determination of coverage, liability, and damages under


            the   Policy.    By   operation   of law,   including   Florida   Statutes   §§   627.428,   624.155,   and


            627.727(10), USAA will be obligated to pay those fees upon successful conclusion of Plaintiffs'


            claim.




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                       WHEREFORE, Plaintiffs request this Court enter judgment against USAA for the full


            amount of the uninsured/underinsured motorist              benefits, including pre- and post-judgment


            interest, attorneys' fees pursuant to Florida Statutes §§ 627.428, 624.155 and 627.727(10), costs,


            and any other relief this Court deems proper, and further demands a trial by jury on all issues so


            triable.                                                                    v




                                                              COUNT II


                INSURANCE BAP FAITH AND UNFAIR CLAIMS SETTLEMENT PRACTICES


                       20.     Plaintiffs incorporate paragraphs I through 6, and 7 through 19 as if fully set forth


            herein.


                       21.   This claim will ripen upon the determination by the Court or by confession of


           judgment by USAA that Plaintiffs are entitled to their full uninsured/underinsured motorist


            benefits under the Policy.


                       22.   On February 15, 2018, Plaintiffs filed a Civil Remedy Notice of Insurer Violation


           with the Florida Department of Insurance and served a copy of the Civil Remedy Notice of


           Insurer Violation ("CRN") upon USAA. A copy of the CRN is attached hereto as Exhibit B.


                       23.     USAA responded to the CRN but did not pay or correct the circumstances giving


           rise to the violation.


                       24.   As a result of the injuries caused by the negligence of Ms. Ottervanger, an


           uninsured/underinsured motorist, and the relationship between Plaintiffs and USAA under the


           Policy,      USAA    owed    a   duty   to   Plaintiffs to attempt   in   good   faith   to   settle   Plaintiffs'


           uninsured/underinsured motorist claim when, under all the circumstances, it could and should


           have done so, had it acted fairly and honestly toward its insured and with due regard for




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            Plaintiffs' interests. USAA further owed a duty to refrain from engaging in unfair claim


            settlement practices.


                    25.        USAA breached its duties to Plaintiffs, in violation of Florida Statute § 624.155,


            by:


                          a.   Failing to attempt, in good faith, to settle Plaintiffs' uninsured motorist claim


                               when, under all the circumstances, it could have and should have done so, had it


                               acted fairly and honestly with due regard for Plaintiffs' interests, who was an


                               insured, in violation of Florida Statute § 624. 155(1 )(b)( 1 ) .


                    26.        USAA failed to cure its bad faith and more than sixty (60) days has passed since


            fding and service of the CRN.


                    27.        As a direct, foreseeable, and proximate result of USAA's bad faith and unfair


            claims practices, Plaintiffs have been damaged and are entitled to recovery of their total amount


            of damages from USAA, including costs, expert witness fees, pre-judgment interest accrued


            since the date of USAA's violations, attorneys' fees incurred by Plaintiffs, and post-judgment


            interest.


                    28.        Plaintiffs agree to voluntarily abate Count II until all conditions precedent to


            Plaintiffs' right to bring this action have occurred or been satisfied. Fridman v. Safeco Ins. Co. of


           Illinois, 185 So.3d 1214, 1229 (Fla. 2016).


                    29.        Plaintiffs had to retain the services of the undersigned attorneys and contracted


           with them for the payment of their attorneys' fees to bring this action and obtain the payment of


            Plaintiffs' total amount of damages caused by USAA's bad faith and unfair claims practices.' By


           operation of law, including Florida Statutes §§ 627.428, 624.155 and 627.727(10), USAA will be


           obligated to pay those fees upon the successful conclusion of Plaintiffs' claim.




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                    WHEREFORE, Plaintiffs request this Honorable Court enter judgment against USAA for


            the full amount of the uninsured/underinsured           motorist benefits, including pre- and post-


            judgment    interest,   attorneys'   fees pursuant to   Florida Statutes' §§   627.428,   624.155   and


            627.727(10), costs, and any other relief this Court deems proper, and further demands a trial by


            jury on all issues so triable.


                    Dated this 9th day of May, 2018.

                                                             Respectfully submitted.




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